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                 EXHIBIT B-071
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                                                                             FILED IN OFFICE




State of Georgia


V.                                                  CASE NO. 2022-EX-000024


IN RE: 2 MAY 2022 SPECIAL
PURPOSE GRAND JURY

     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
                RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests     permission   to use a recording device in
Courtroom Judge McBurney SD in order to ~record images and/or ~sound
during all or portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned desires to use the
following described recording device(s): ~computer      of any size, including a
tablet, a notebook, and a laptop; ~smart phone, a cell phone or other wireless
phone;      camera and other audio or video recording devices D any similar
devices

The proceedings      that the undersigned
                                       desires to record commence on (date and
time) August 25, 2022 at 10:30 am. Subject to direction from the court
regarding possible pooled coverage, the undersigned wishes to use this device
in the courtroom     on (date and timeJAugust 25, 2022      at 10:30   am.


The personnel      who will be responsible      for the use of this recording   device are:
(identify appropriate personnel or individual) Sam Gringlas and/ or Rahul Bali.


The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any
guidelines issued by the court.


For questions or concerns email pio@fultoncountyqa.gov                                   1
Rule 22 (Rev. 04/01/ 18)
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*Notice to Requesting Agency or Individual*
In order to be deemed timely by the Court, this request must be
submitted 24 business hours prior to the proceeding for which it is
requested due to mandatory notice requirements.

WABE-NPR
(News Agency/Media         Outlet/Law Firm/Individual       Representative)

sgringlas@wabe.org
(Email Address)

678-686-0321
(Phone Number)

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               ~Approved


              The requesting agency:
                            be pool for its media
                      ~Shall    not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

SO ORDERED this 24 th day of August 2022.



                                        u.
                                  uperior Court of Fulton
                                 Atlanta Judicial Circuit


For questions or concerns email pio@fultoncountuqa.gov                         2
Rule 22 (Rev. 04/01/ 18)
